Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 1 of 23 Page ID #:3



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     ZIONIST ORGANIZATION OF AMERICA
 7   and MORTON KLEIN

 8
                            UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT - CENTRAL DISTRICT
10

11
     ORIT ARFA, an individual,                  Case No. 2:13-cv-02942-ABC-SS
12
                      Plaintiff,                DEFENDANTS ZIONIST
13                                              ORGANIZATION OF AMERICA
     vs.                                        AND MORTON KLEIN'S NOTICE
14                                              OF MOTION AND MOTION TO
     ZIONIST ORGANIZATION OF                    DISMISS
15   AMERICA, a New York
     corporation; MORTON KLEIN, an              Hearing Date: June 3, 2013
16   individual; and DOES 1 through 20,         Hearing Time: 10:00 a.m.
     inclusive,                                 Dept.:        680
17                                              Judge:        The Honorable Audrey
                      Defendants.                                 B. Collins
18
                                                Complaint Filed:        March 25, 2013
19

20
     TO PLAINTIFF AND PIER ATTORNEYS OF RECORD:
21
           PLEASE TAKE NOTICE that on June 3, 2013 at 10:00 a.m., or as soon
22
     thereafter as the matter may be heard in Department 680 the above-entitled court,
23
     located at 312 North Spring Street, Los Angeles, CA 90012, Defendants ZIONIST
24
     ORGANIZATION OF AMERICA ("Defendant the ZOA") and MORTON KLEIN
25
     ("Mr. Klein") (collectively "Defendants") will move the Court to dismiss Plaintiff
26
     ORIT ARFA's ("Plaintiff) First, Second, Third, Fourth, Fifth, and Sixth Claims;
27
     prayer for attorneys' fees in her First, Second, Third, Fourth, Fifth, and Sixth
28

     DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                                                                                  4839-3904-5907
     CASE NO. 2:13-CV-02942-ABC-SS
Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 2 of 23 Page ID #:4



 1   Claims; and prayer for damages in her Sixth Claim, pursuant to Federal Rule of
 2   Civil Procedure, Rule 12(b)(6), because the foregoing fail to state a claim upon
 3   which relief can be granted. Specifically:
 4          1.    Plaintiffs First and Second Claims for Wrongful Termination fail
 5                against Mr. Klein because individual non-employers cannot be held
 6                liable for wrongful termination as a matter of law.
 7         2.     Plaintiffs First Claim for Wrongful Termination - Violation of Public
 8                Policy fails as to all Defendants because Plaintiff does not cite what
 9                underlying statute Defendants may have violated.
10         3.     Plaintiffs Second Claim for Wrongful Termination - Gender
11                Discrimination fails as to all Defendants because she pled insufficient
12                facts to allege she was terminated because of her gender.
13         4.     Plaintiffs Third Claim for Civil Conspiracy fails as to all Defendants
14                as a matter of law because the ZOA cannot conspire with itself via its
15                National President Mr. Klein.

16         5.     Plaintiff s Fourth Claim for Intentional Infliction of Emotional

17                Distress fails as to Mr. Klein because individual supervisors cannot be
18                held liable for personnel actions.
19         6.     Plaintiff s Fourth Claim for Intentional Infliction of Emotional

20                Distress fails as to all Defendants because Plaintiff did not sufficiently
21                plead Defendants engaged in extreme or outrageous conduct.
22         7.     Plaintiffs Fifth Claim for Negligent Infliction of Emotional Distress
23                 fails as to all Defendants because it is barred by the Workers'
24                Compensation Act.
25          8.    Plaintiffs Fifth Claim for Negligent Infliction of Emotional Distress
26                 fails as to all Defendants because all conduct Plaintiff alleged was
27                 framed as intentional conduct, not negligent conduct.
28

     DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
     CASE NO. 2:13-CV-02942-ABC-SS
Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 3 of 23 Page ID #:5



 1          9.     Plaintiffs Unfair Competition Law Claim fails as to all Defendants for
 2                 the same reasons her other claims fail.

 3          10.    Plaintiffs prayer for attorneys' fees in her First, Second, Third,
 4                 Fourth, Fifth, and Sixth Claims fails to state a claim for relief against
 5                 the ZOA and Mr. Klein because she failed to attach an agreement that
 6                 contains a prevailing party attorneys' fee provision or cite a statute that
 7                 provides for the recovery of attorneys' fees.
 8          11.    Plaintiffs prayer for damages in her Sixth Claim for violation of the
 9                 Unfair Competition Law fails to state a claim for damages against the
10                 ZOA and Mr. Klein because the statute only provides for injunctive
11                 and restitutionary relief.
12          Pursuant to Central District of California Rule 7-3, on April 26 and 29, 2013,
13   Defendants' counsel discussed the substance of this Motion with Plaintiffs counsel

14   to determine potential resolution that would eliminate the need for a hearing. The
15   parties were unable to reach a resolution.
16          This Motion is based on this Notice of Motion and Motion, the Memorandum

17   of Points and Authorities filed herewith, and the pleadings and papers on file in this
18   action, and such further evidence and arguments as may be presented before the
19   Court at the hearing on this Motion.
20

21
     Dated: April 30, 2013                            HIRSCHFELD KRAEMER LLP

22

23
                                                ByL
                                                               Gregory S. Glazer
24                                                             Alison M. Hamer
                                                Attorneys for Defendants
25                                              ZIONIST ORGANIZATION OF AMERICA
                                                and MORTON KLEIN
26

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     DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
     CASE NO. 2:13-CV-02942-ABC-SS
             Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 4 of 23 Page ID #:6



              1                                   TABLE OF CONTENTS

              2   MEMORANDUM OF POINTS AND AUTHORITIES                                             1

              3   I.     INTRODUCTION                                                              1

              4   II.    LEGAL ARGUMENT                                                           3

              5         A.      PLAINTIFF'S FIRST AND SECOND CLAIMS FOR WRONGFUL
                                TERMINATION FAIL AGAINST INDIVIDUAL MR. KLEIN,
              6
                                BECAUSE INDIVIDUAL NON-EMPLOYERS CANNOT BE HELD
              7                 LIABLE FOR WRONGFUL TERMINATION AS A MATTER OF
                                LAW                                                               3
              8

              9         B.      PLAINTIFF' S WRONGFUL TERMINATION - VIOLATION OF
                               PUBLIC POLICY CLAIM FAILS AS TO ALL DEFENDANTS
             10
                                BECAUSE PLAINTIFF DOES NOT CITE WHAT UNDERLYING
             11                 STATUTE DEFENDANTS MAY HAVE VIOLATED                              4

             12         C.     PLAINTIFF'S SECOND CLAIM FOR WRONGFUL
•i   <   -
                               TERMINATION - GENDER DISCRIMINATION FAILS AS TO ALL
             13
                               DEFENDANTS BECAUSE PLAINTIFF PLED INSUFFICIENT
             14                FACTS TO ALLEGE SHE WAS TERMINATED BECAUSE OF HER
                                GENDER                                                            5
             15

             16         D.     PLAINTIFF'S THIRD CLAIM FOR CIVIL CONSPIRACY FAILS
                               AS A MATTER OF LAW AS TO BOTH DEFENDANTS BECAUSE
             17
                               ZOA CANNOT CONSPIRE WITH ITSELF VIA ITS NATIONAL
             18                PRESIDENT                                                          6

             19         E.      PLAINTIFF'S FOURTH AND FIFTH CLAIMS FOR INTENTIONAL
                                AND NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
             20
                               FAIL AS TO MR. KLEIN BECAUSE INDIVIDUAL SUPERVISORS
             21                 CANNOT BE HELD LIABLE FOR PERSONNEL ACTIONS                       7

             22
                        F.      PLAINTIFF'S FOURTH CLAIM FOR INTENTIONAL INFLICTION
             23                 OF EMOTIONAL DISTRESS FAILS AS TO ALL DEFENDANTS
                               BECAUSE PLAINTIFF DID NOT SUFFICIENTLY PLEAD
             24
                               DEFENDANTS ENGAGED IN EXTREME OR OUTRAGEOUS
             25                CONDUCT                                                            9

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                  DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                                                                                      4839-3904-5907
                  CASE NO. 2:13-CV-02942-ABC-SS
        Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 5 of 23 Page ID #:7



         1          G.    PLAINTIFF'S FIFTH CLAIM FOR NEGLIGENT INFLICTION OF

         2                EMOTIONAL DISTRESS FAILS AS TO BOTH DEFENDANTS
                          BECAUSE IT IS BARRED BY THE WORKERS' COMPENSATION
         3                ACT                                                          10

         4
                    H.    PLAINTIFF' S NEGLIGENT INFLICTION OF EMOTIONAL
         5                DISTRESS CLAIM ALSO FAILS AS TO ALL DEFENDANTS
                          BECAUSE ALL CONDUCT PLAINTIFF ALLEGED WAS FRAMED
         6
                          AS INTENTIONAL CONDUCT, NOT NEGLIGENT CONDUCT ..11
         7
                    I.    PLAINTIFF'S UNFAIR COMPETITION LAW CLAIM FAILS AS
         8                TO ALL DEFENDANTS FOR THE SAME REASONS HER OTHER

         9                CLAIMS FAIL                                                  12

        10          J.    PLAINTIFF'S FAILURE TO ATTACH AN AGREEMENT THAT
                           CONTAINS A PREVAILING PARTY ATTORNEYS' FEE
        11
                          PROVISION OR CITE A STATUTE THAT PROVIDES FOR THE
        12                 RECOVERY OF ATTORNEYS' FEES PRECLUDES AN AWARD
2 < -
                           OF ATTORNEYS' FEES UNDER HER TORT CAUSES OF
        13
                          ACTION                                                       13
        14
                    K.    PLAINTIFF CANNOT RECOVER ATTORNEYS' FEES UNDER
        15                HER STATUTORY CALIFORNIA BUSINESS AND PROFESSIONS
        16                 CODE SECTION 17200 ET SEQ. CLAIM BECAUSE THE STATUTE
                          DOES NOT PROVIDE FOR ATTORNEYS'FEES                          14
        17
                    L.    PLAINTIFF'S PRAYER FOR DAMAGES IS IMPROPER UNDER
        18
                          HER UNFAIR BUSINESS PRACTICES CAUSE OF ACTION
        19                BECAUSE THE STATUTE ONLY PROVIDES FOR INJUNCTIVE
                          AND RESTITUTIONARY RELIEF                                    14
        20

        21   III.   CONCLUSION                                                         15

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                                                     n

             DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
             CASE NO. 2:13-CV-02942-ABC-SS
        Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 6 of 23 Page ID #:8



         1
                                             TABLE OF AUTHORITIES
         2
                                                                                   Page(s)
         3   Federal Cases

         4   Ashcroft v. Iqbal
         5      556 U.S. 662 (2008)                                                     5

         6   Buscemi v. McDonnell Douglas Corp.
               736 F.2d 1348 (9th Cir. 1984)                                            9
         7

         8   California Cases

         9   Bank ofthe West v. Super. Ct.
               2 Cal. 4th 1254 (1992)                                                  14
        10

        11   Burgess v. Super. Ct.
               2 Cal. 4th 1064 (1992)                                                  11
        12
2   <

2 <
             Carroll v. Hanover Ins. Co.
        13
                266 Cal. App. 2d 47 (1968)                                             13
        14
             Cole v. Fair Oaks Fire Prot. Dist.
        15
                43 Cal. 3d 148 (1987)                                              10,11
        16
             Farmers Ins. Exch. v. Super. Ct.
        17      2 Cal. 4th 377 (1992)                                                  12
        18
             Fermino v. Fedco, Inc.
        19      7 Cal. 4th 701 (1994)                                                  10

        20   Green v. Ralee Eng 'g Co.
               19 Cal. 4th 66 (1998)                                                    3
        21

        22   Heller v. Norcal Mutual Ins. Co.
                8 Cal. 4th 30 (1994)                                                   14
        23
             Ingels v. Westwood One Broad. Serv., Inc.
        24
                129 Cal. App. 4th 1050 (2003)                                          12
        25
             Jacobs v. Universal Dev. Corp. (1997)
        26
                53 Cal.App.4th 692                                                      6
        27

        28
                                                      in

             DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
             CASE NO. 2:13-CV-02942-ABC-SS
             Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 7 of 23 Page ID #:9



              1   Janken v. GM Hughes Elec.
              2
                     46 Cal. App. 4th 55 (1996)                                         6, 7, 8

              3   Jones v. The Lodge at Torrey Pines P 'ship
                     42 Cal. 4th 1158 (2008)                                                  8
              4

              5   Jutkowitz v. Bourns, Inc.
                     118 Cal. App. 3d 102 (1981)                                             13
              6
                  Khajavi v. Feather River Anesthesia Med. Group (2000)
              7
                    84 Cal.App.4th 32                                                         5
              8
                  Korea Supply Co. v. Lockheed Martin Corp.
              9     29 Cal. 4th 1134 (2003)                                                  14
             10
                  Livitsanos v. Super. Ct.
             11      2 Cal. 4th 744 (1992)                                                   10
             12   People v. McKale
y.   i   s   13      25 Cal. 3d 626 (1979)                                                   12

             14   Potter v. Firestone Tire & Rubber Co.
                     6 Cal. 4th 965 (1993)                                                    9
             15

             16   Reno v. Baird
                     18 Cal. 4th 640 (1998)                                                   8
             17
                  Semore v. Pool
             18
                     217 Cal. App. 3d 1087 (1990)                                            11
             19
                  Sheppard v. Freeman
             20
                     67 Cal. App. 4th 339 (1998)                                        7, 8, 9
             21
                  Shoemaker v. Myers
             22      52 Cal. 3d 1 (1990)                                                     10
             23
                  Tameny v. Atlantic Richfield Co.
             24     27 Cal. 3d 167 (1980)                                                   3, 4

             25   Trerice v. Blue Cross of Cal.
                     209 Cal. App. 3d 878 (1989)                                              9
             26

             27   Turner v. Anheuser-Busch, Inc.
                     7 Cal. 4th 1238 (1994)                                                 3, 4
             28
                                                          iv
                  DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                  CASE NO. 2:13-CV-02942-ABC-SS
          Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 8 of 23 Page ID #:10



            1   Walker v. Countrywide Home Loans, Inc.
           2
                  98 Cal. App. 4th 1158 (2002)                                             14

           3    Weinbaum v. Goldfarb (1996)
                  46Cal.App.4thl310                                                       6,7
           4

           5    California Statutes

           6    California Business and Professions Code § 17200, et seq           2, 12, 14
           7    California Labor Code § 1102.5                                              3
           8
                California Labor Code § 3602(a)                                            10
           9
                Other Statutes
          10
                Code of Civil Procedure § 1021                                             13
          11

          12    Labor Code §§ 3600 et seq                                                  10
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                DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                CASE NO. 2:13-CV-02942-ABC-SS
Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 9 of 23 Page ID #:11



  1                 MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.     INTRODUCTION

 3           This lawsuit arises out of Plaintiff Orit Arfa's ("Plaintiff) former
 4    employment with the Zionist Organization of America ("the ZOA") and
  5   supervision under Morton Klein ("Mr. Klein") (collectively "Defendants"). The
 6    ZOA is a non-profit organization dedicated to promoting U.S.-Israel relations via
 7    educational activities and public affairs programs throughout its chapters across the
 8    United States. From October 24, 2011 until November 19, 2012, Plaintiff served as

 9    the ZOA's Western Region Executive Director in Los Angeles. (Plaintiffs
10    Complaint ("Compl.") 1fl[ 5, 10, 16, 33-34.) Throughout 2012, the ZOA's National
11    President, Mr. Klein, directed Plaintiff to fulfill her fundraising duties on behalf of
12    the ZOA. (Compl. fflf 6, 18, 24, 26.) Without stating how, Plaintiff alleges that in
13    asking her to perform her duties, Mr. Klein was harassing. (Compl. ^ 6, 18, 24,
14    26.) During the two months preceding her termination, the ZOA's National

15    Executive Director, David Drimer, spoke with Plaintiff regarding whether or not the

16    ZOA intended to extend its lease for the Western Region's office in Los Angeles.

17    (Compl. ^ 29, 32, 36.) Ultimately, on November 19, 2012, Mr. Drimer informed

18    Plaintiff that the ZOA was terminating her employment due to its "business

19    decision to close the Los Angeles office and relocate the office of the Western

20    Region to Oakland." (Compl. \\ 14, 34, 36.)

21          Plaintiffs Complaint alleges six claims against the ZOA and Mr. Klein:

22    (1) tortious wrongful termination - violation of public policy; (2) tortious wrongful

23    termination - gender discrimination; (3) tortious conspiracy to terminate Plaintiffs

24    employment; (4) tortious intentional infliction of emotional distress; (5) tortious

25    negligent infliction of emotional distress; and (6) unfair business practices. The

26    crux of Plaintiff s claims is that the ZOA allegedly wrongfully terminated her

27    employment after she complained regarding her concerns with the organization's

28    tax exempt status. (Compl. pp. 3-10.)

      DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                                                                                    4839-3904-5907
      CASE NO. 2:13-CV-02942-ABC-SS
             Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 10 of 23 Page ID #:12



               1          Despite the requirement to specifically identify the statute which serves as
               2   the basis for an alleged "public policy," Plaintiff fails to cite which particular
               3   statute, rule, regulation, or constitutional provision the ZOA purportedly violated.
               4   Nor does Plaintiffs Complaint allege sufficient facts to state claims for gender
               5   discrimination, civil conspiracy, intentional infliction of emotional distress,
               6   negligent infliction of emotional distress, or unfair business practices. Accordingly,
               7   the Court should grant the ZOA's Motion to Dismiss all six claims against it.
               8          Moreover, Plaintiffs Complaint fails to state any viable claim against Mr.
               9   Klein, who was never Plaintiffs employer. Well-established law provides that
              10   individual supervisors who are not a plaintiffs employer cannot be held liable for
              11   wrongful termination, civil conspiracy to terminate, unfair business practices, or
              12   infliction of emotional distress for performing personnel actions by managing the
tc   ^
^C iz 3^
         z
              13   employee. Thus, the Court should grant Mr. Klein's Motion to Dismiss Plaintiffs
              14   entire Complaint against him.
              15         Lastly, this Motion seeks to dismiss Plaintiffs improper prayer for attorneys'
              16   fees in her tort Wrongful Termination, Civil Conspiracy, Intentional Infliction of
              17   Emotional Distress, Negligent Infliction of Emotional Distress Claims, because her
              18   Complaint fails to state that her prayer is supported by any contract or statute.
              19   Also, the Court dismiss Plaintiffs prayer for attorneys' fees in her Unfair
              20   Competition Law claim because California Business and Professions Code section
              21   17200, et seq. does not provide for the recovery of attorneys' fees. Lastly, the
              22   Court should dismiss Plaintiffs improper prayer for damages in her Unfair
              23   Competition Law claim, because only injunctive and restitutionary reliefs are
              24   available under the statute.

              25   ///

              26   ///

              27   ///

              28   ///

                   DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                   CASE NO. 2:13-CV-02942-ABC-SS
            Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 11 of 23 Page ID #:13



              1   II.    LEGAL ARGUMENT

              2          A.     PLAINTIFF'S FIRST AND SECOND CLAIMS FOR
                                WRONGFUL TERMINATION FAIL AGAINST INDIVIDUAL
              3                 MR. KLEIN, BECAUSE INDIVIDUAL NON-EMPLOYERS
                                CANNOT BE HELD LIABLE FOR WRONGFUL
              4                 TERMINATION AS A MATTER OF LAW
              5          Well-established law clearly provides that individual defendants who were
              6   not the plaintiffs employer cannot be held liable under a wrongful discharge cause
              7   of action. "As a matter of law, only an employer can be liable for the tort of
              8   wrongful discharge in violation of public policy." Khajavi v. Feather River
              9   Anesthesia Med. Group (2000) 84 Cal.App.4th 32, 53 (emphasis added), citing
             10   Weinbaum v. Goldfarb (1996) 46 Cal.App.4th 1310, 1315 ("[TJhere is nothing in
             11   Foley or in any other case we have found to suggest that this tort imposes a duty of
             12   any kind on anyone other than the employer.") (Emphasis added); see also Jacobs
ts: ^   z    13   v. Universal Dev. Corp. (1997) 53 Cal.App.4th 692, 704 ("[0]nly an employer can
c   5   <
             14   be liable for tortious discharge.") (Emphasis added.) The rationale behind such a
             15   rule is clear: "the duty on which the tort is based is a creature of the employer-
             16   employee relationship, and the breach of that duty is the employer's improper
             17   discharge of an employee otherwise terminable at the will or whim of the
             18   employer." Weinbaum, supra, 46 Cal.App.4th at 1315.
             19         Plaintiff alleges that Mr. Klein is an individual who is the National President
             20   ofthe ZOA. (Compl. \ 6.) Plaintiffs Complaint does not, and cannot, allege that
             21   Mr. Klein was her employer. Because the ZOA was Plaintiffs employer, and Mr.
             22   Klein was an agent ofthe ZOA as its National President, Mr. Klein cannot be held
             23   personally liable for the ZOA terminating Plaintiffs employment under a wrongful
             24   termination cause of action. Therefore, Plaintiffs First and Second Claims for
             25   wrongful termination fail as a matter of law as to Mr. Klein. Accordingly, the
             26   Court should dismiss Plaintiffs First and Second Claims against Mr. Klein with
             27   prejudice.

             28

                   DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                   CASE NO. 2:13-CV-02942-ABC-SS
        Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 12 of 23 Page ID #:14



          1         B.     PLAINTIFF'S WRONGFUL TERMINATION - VIOLATION
                           OF PUBLIC POLICY CLAIM FAILS AS TO ALL
          2                DEFENDANTS BECAUSE PLAINTIFF DOES NOT CITE
                           WHAT UNDERLYING STATUTE DEFENDANTS MAY HAVE
          3                VIOLATED

          4         Plaintiffs Wrongful Termination - Violation of Public Policy Claim alleges
          5   that the ZOA terminated her employment because she "oppos[ed ] illegal conduct,
          6   namely, the concealing of the loss of Defendant the ZOA's tax-exempt status as a
          7   not-for-profit entity." (Compl. f 38.) She alleges that her termination violated
          8   California Labor Code section 1102.5, which prohibits an employer from
          9   "retaliating] against an employee for refusing to participate in an activity that
         10   would result in a violation ofstate orfederal statute, or a violation or
         11   noncompliance with a state orfederal rule or regulation." (Emphasis added.)
         12         The California Supreme Court recognized a tort action for retaliatory or
         13   wrongful termination in violation of public policy in Tameny v. Atlantic Richfield
C   z



         14   Co., 27 Cal. 3d 167 (1980), (commonly referred to as a Tameny claim). To prevail
         15   on a Tameny claim, Plaintiff must prove "that h[er] dismissal violated a policy that
         16   is[:] (1) fundamental[;] (2) beneficial for the public[;] and (3) embodied in a statute
         17   or constitutional provision." Turner v. Anheuser-Busch, Inc., 7 Cal. 4th 1238, 1256
         18   (1994) (internal footnotes omitted). A Tameny wrongful termination claim arises
         19   when a plaintiff is terminated for one of the following four reasons: (1) refusal to
         20   violate a statute; (2) performing an obligation imposed by the state; (3) exercising a
         21   statutory privilege or right; or (4) reporting an alleged violation of a statute of
         22   public importance. Tameny, 27 Cal. 3d at 176-77.
         23         The "plaintiff [bears] ... the burden to provide the specific statutes and
         24   regulations on which he base[s] his claim" for wrongful termination. Green v.
         25   Ralee Eng'g Co., 19 Cal. 4th 66, 84 (1998) (Emphasis added). A plaintiffs vague
         26   charge of legal "violations, unaccompanied by citations to specific statutory or
         27   constitutional provisions, puts [the defendant] and the court in the position of
         28

              DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
              CASE NO. 2:13-CV-02942-ABC-SS
Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 13 of 23 Page ID #:15



  1   having to guess at the nature of the public policies involved, if any." Turner, supra,
  2   7 Cal. 4th at 1257. (Emphasis added.)
  3         Here, Plaintiffs Complaint fails to cite to any specific state or federal statute,
  4   rule, regulation or constitutional provision on which Plaintiff bases her wrongful
  5   termination claim. Thus, Plaintiffs Complaint fails to plead the requisite elements
  6   of a Tameny retaliatory termination Claim because it does not state what
  7   fundamental public policy the ZOA violated by terminating her employment.
  8   Plaintiffs vague allegation that the ZOA terminated her for complaining about
  9   "concealing the loss of Defendant ZOA's tax-exempt status as a not-for-profit
 10   entity" is insufficient to put the ZOA and the Court on notice of which public
 11   policy Plaintiff claims the ZOA violated, if any, and therefore fails to state a claim
 12   for Wrongful Termination in Violation of Public Policy. See Turner, supra, 7 Cal.
 13   4th at 1257 (Plaintiffs "failure to identify a statutory or constitutional policy that
 14   would be thwarted by his alleged discharge dooms his [wrongful termination] cause
 15   of action."). The Court should therefore grant Defendants' Motion to Dismiss
 16   Plaintiffs Wrongful Termination - Violation of Public Policy Claim.

 17         C.      PLAINTIFF'S SECOND CLAIM FOR WRONGFUL
                   TERMINATION - GENDER DISCRIMINATION FAILS AS
 18                TO ALL DEFENDANTS BECAUSE PLAINTIFF PLED
                    INSUFFICIENT FACTS TO ALLEGE SHE WAS
 19                TERMINATED BECAUSE OF HER GENDER
 20         To state a claim for wrongful termination in violation of public policy,
 21   Plaintiff must allege that: (1) she was terminated from her employment; (2) the
 22   termination was a violation of public policy, i.e., there was a nexus between the
 23   termination and her gender; and (3) she suffered damages. See Turner, supra, 7
 24   Cal. 4th at 1258-59.

 25         Plaintiff does not allege any facts regarding gender discrimination within the
 26   ten pages of her Complaint's Factual Background. {See Compl. pp. 1-10.) Rather,
 27   she bases her entire Second Claim for Wrongful Termination - Gender
 28   Discrimination on a single allegation: that "other directors who were all male . . .
                                                  5
      DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
      CASE NO. 2:13-CV-02942-ABC-SS
         Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 14 of 23 Page ID #:16



           1   were not required to fund-raise anywhere near the rate at which [she] was."
           2   (Compl. ^ 44.) Plaintiff then concludes that she was "terminated because she was a
           3   woman." (Compl. ^ 45-46.) These are two independent unrelated conclusory
           4   statements.

           5          Plaintiffs bare legal conclusion is insufficient to state a claim for wrongful
           6   termination based upon gender. The Court is not bound to accept bare legal
           7   conclusions as true. See Ashcroft v. Iqbal, 556 U.S. 662, 681 (2008) (holding the
           8   respondents allegations that petitioners "'subjected [him]' to harsh conditions of
           9   confinement 'as a matter of policy, solely on account of [his] religion, race and/or
          10   national origin, and for no legitimate penological interest" were "bare assertions"
          11   that "amount to nothing more than a 'formulaic recitation of the elements' of a
          12   constitutional discrimination claim . . . [and were therefore] conclusory and not
^   ;-    13   entitled to be assumed true."). Since Plaintiff failed to plead plausible facts of a
          14   causal nexus between her gender and termination, the Court should grant
          15   Defendants' Motion to Dismiss Plaintiffs Wrongful Termination - Gender
          16   Discrimination Claim.

          17          D.     PLAINTIFF'S THIRD CLAIM FOR CIVIL CONSPIRACY
                             FAILS AS A MATTER OF LAW AS TO BOTH DEFENDANTS
          18                 BECAUSE ZOA CANNOT CONSPIRE WITH ITSELF VIA ITS
                             NATIONAL PRESIDENT
          19

          20          Plaintiffs Civil Conspiracy Claim against Defendants fails because it is well
          21   established that a corporation cannot conspire with itself through the actions of its
          22   agents. Plaintiff alleges that the ZOA and its National President, Mr. Klein, agreed,
          23   intended, and planned to terminate her because of her concerns over the tax issue
          24   and because she was a woman, which resulted in her termination and related

          25   damages. (Compl. ^j 50, 51, 52, 53.) "A conspiracy generally requires agreement
          26   plus an overt act causing damage." Janken v. GM Hughes Elecs., 46 Cal. App. 4th
          27   55, 78 (1996) {citingDoctors' Co. v. Super. Ct, 49 Cal. 3d 39, 44 (1989)). In
          28   Janken, the court explained that a corporation cannot be held liable for civil
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               DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
               CASE NO. 2:13-CV-02942-ABC-SS
Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 15 of 23 Page ID #:17



   1   conspiracy through the acts of its agents:
   2          A corporate employee cannot conspire with his or her corporate
              employer; that would be tantamount to a person conspiring with
   3          himself. Thus, when a corporate employee acts in his or her
              authorized capacity on behalf of his or her corporate employer, there
  4           can be no claim ofconspiracy between the corporate employer and the
              corporate employee. In such a circumstance, the element or concert is
   5          missing.
   6   Id. (internal citations omitted.)
   7          Plaintiff essentially pled that the ZOA wrongfully terminated her
 pie   employment through agreement with Mr. Klein, and she is attempting to hold the
  d    ZOA and Mr. Klein mutually liable by alleging a non-cognizable civil conspiracy
that   claim between the two of them, even though individual, non-employers cannot be
the    held personally liable for discrimination or wrongful termination by engaging in
ZO     personnel actions on behalf of their employer. See id. at 80; see also Weinbaum,
  A    supra, 46 Cal. App. 4th at 1315. Based on the foregoing, Plaintiffs Civil
wro    Conspiracy Claim against the ZOA and Mr. Klein fails and should be dismissed
ngf    with prejudice.
ully          E.     PLAINTIFF'S FOURTH AND FIFTH CLAIMS FOR
                     INTENTIONAL AND NEGLIGENT INFLICTION OF
 ter                 EMOTIONAL DISTRESS FAIL AS TO MR. KLEIN BECAUSE
                     INDIVIDUAL SUPERVISORS CANNOT BE HELD LIABLE
min                  FOR PERSONNEL ACTIONS

 ate         As Plaintiffs former supervisor at the ZOA, by law Mr. Klein cannot be held
  d    liable for personnel actions through managing Plaintiff. A "former employee
her    cannot sue individual employees based on their conduct, including acts or words,
em     relating to personnel actions." Sheppardv. Freeman, 67 Cal. App. 4th 339, 347
plo    (1998). The public policy behind this rule is simple: "Personnel actions are made
ym     for the benefit of the enterprise - the employer, and it is the employer, not the
ent    individual employees, that must bear the risks and responsibilities attendant to
thro   these actions." Id. (Emphasis added.) The Sheppard court recognized that
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       personnel actions are the sine qua non of any business operation. Id. at 345. "[T]o
       properly manage its business, every employer must on occasion review, criticize,
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       DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
       CASE NO. 2:13-CV-02942-ABC-SS
Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 16 of 23 Page ID #:18



  1   demote, and discipline employees." Id. {quoting Cole v. Fair Oaks Fire Prot. Dist.,
  2   43 Cal. 3d 148, 160 (1987)). Also, "[w]ithout making personnel decisions, a
  3   supervisory employee simply cannot perform his or her job duties." Janken v. GM
  4   Hughes Elec, 46 Cal. App. 4th 55, 64 (1996). "[T]he exercise of personnel
  5   management authority properly delegated by an employer to a supervisory
  6   employee might result in discrimination, but not harassment." See Janken, 46 Cal.
  7   App. 4th at 63-64. Individual supervisory employees cannot be held liable for the
  8   performance of personnel actions that amount to discrimination or retaliation. Id. at
  9   62; Reno v. Baird, 18 Cal. 4th 640, 663 (1998); Jones v. The Lodge at Torrey Pines
 10   P 'ship, 42 Cal. 4th 1158, 1173(2008).
 11          Here, Plaintiff alleges that Mr. Klein "pressured her to fund-raise" {i.e.,
 12   perform her job), instructed her to run "all communications with the public,
 13   including publications, press releases and emails[ for] pre-approv[al] by [him]," and
 14   recommended that the ZOA terminate her employment. (Compl. ^ 18, 20, 33.)
 15   "A simple pleading of personnel management activity is insufficient to support a
 16   claim of intentional infliction of emotional distress, even if improper motivation is
 17   alleged." Janken, 46 Cal. App. 4th at 80; see also Kacludis v. GTE Sprint
 18   Commc'n Corp., 806 F. Supp. 866, 873 (N.D. Cal. 1992) (holding individual
 19   supervisors stand in the place of the employer when making personnel decisions
 20   and cannot be held liable, including for claims of negligence, based on an allegation
 21   that they "somehow acted outside the scope of the employment relationship in"
 22   making the personnel decision). Rather, "[i]f personnel management decisions are
 23   improperly motivated, the remedy is a suit against the employer for discrimination."
 24   Id. The Court must dismiss Plaintiffs Fourth and Fifth Claims for Intentional and

 25   Negligent Infliction of Emotional Distress as to Mr. Klein.
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      DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
      CASE NO. 2:13-CV-02942-ABC-SS
             Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 17 of 23 Page ID #:19



               1         F.     PLAINTIFF'S FOURTH CLAIM FOR INTENTIONAL
                                INFLICTION OF EMOTIONAL DISTRESS FAILS AS TO ALL
               2                DEFENDANTS BECAUSE PLAINTIFF DID NOT
                                SUFFICIENTLY PLEAD DEFENDANTS ENGAGED IN
               3                EXTREME OR OUTRAGEOUS CONDUCT

               4         To satisfy a Claim for IIED, Plaintiff must plead the following: "(1) extreme
               5   and outrageous conduct by the defendant with the intention of causing, or reckless
               6   disregard of the probability of causing, emotional distress; (2) the plaintiffs
               7   suffering severe or extreme emotional distress; and (3) actual and proximate
               8   causation of the emotional distress by the defendant's outrageous conduct. . . ."
               9   Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965, 1001 (1993). (Citations
              10   omitted.) The alleged conduct must be "so extreme as to exceed all bounds [of
              11   conduct] that is usually tolerated in a civilized community." Id. Here, Plaintiff has
              12   not alleged any facts that constitute extreme and outrageous conduct sufficient to

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              13   establish that Defendants intentionally inflicted emotional distress upon her.
2 s %

              14         Plaintiffs allegation that Defendants pressured her to fund-raise and
              15   terminated her employment are insufficient to amount to extreme or outrageous
              16   conduct to support her IIED claim. Again, these are personnel actions, necessary to
              17   operating a business. See Sheppard, supra, 67 Cal. App. 4th at 345. "[T]o properly
              18   manage its business, every employer must on occasion review, criticize, demote,
              19   and discipline employees." Id. {quoting Cole, supra, 43 Cal. 3d at 160). In
              20   addition, simply terminating an employee, even if without cause, does not
              21   constitute outrageous conduct. See Buscemi v. McDonnell Douglas Corp., 736 F.2d
              22   1348, 1352 (9th Cir. 1984); Trerice v. Blue Cross of Cal, 209 Cal. App. 3d 878,
              23   883 (1989). Because Plaintiffs Complaint does not allege any facts to show
              24   Defendants intentionally engaged in extreme and outrageous conduct towards her
              25   that is "so extreme as to exceed all bounds [of conduct] that is usually tolerated in a
              26   civilized community," the Court should grant Defendants' Motion to Dismiss
              27   Plaintiffs Fourth Claim.

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                   DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                   CASE NO. 2:13-CV-02942-ABC-SS
            Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 18 of 23 Page ID #:20



              1         G.     PLAINTIFF'S FIFTH CLAIM FOR NEGLIGENT INFLICTION
                               OF EMOTIONAL DISTRESS FAILS AS TO BOTH
             2                 DEFENDANTS BECAUSE IT IS BARRED BY THE WORKERS'
                               COMPENSATION ACT
              3

             4          California Labor Code section 3602(a) provides that "[w]here the conditions
              5   of compensation set forth in Section 3600 concur, the right to recover such
              6   compensation is . . . the sole and exclusive remedy of the employee . . . against the
              7   employer." The California Supreme Court has found that "injuries caused by
              8   employer negligence or without employer fault [ ] are compensated at the normal
              9   rate under the workers' compensation system" and civil actions are barred by the
             10   Workers' Compensation Act. Fermino v. Fedco, Inc., 7 Cal. 4th 701, 721-23
             11   (1994).
             12         In her Complaint, Plaintiff fails to allege facts that would take the claim for
             13   negligent infliction of emotional distress ("NIED") out of the employment context
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             14   and, therefore, beyond the exclusive remedy provisions of the Workers'
             15   Compensation Act ("WCA"). See Cole, supra, 43 Cal. 3d 148. In Cole, the
             16   plaintiff alleged that his employer deliberately harassed and punished him. The
             17   Cole court held that even this type of conduct necessarily arose in the "course ofthe
             18   employment," within the purview of Labor Code sections 3600 etseq. Id. at 160.
             19   "Actions which are a normal part of the employment relationship, such as
             20   demotions, promotions, criticism of work practices, and frictions in negotiations as
             21   to grievances" fall within the exclusive remedy of the workers' compensation laws.
             22   Id.; Shoemaker v. Myers, 52 Cal. 3d 1 (1990) (affirming Cole and holding
             23   plaintiffs Claim for intentional infliction of emotional distress was preempted by
             24   Labor Code sections 3600 et seq.). Shoemaker further held that characterizing the
             25   employer's conduct as intentional or outrageous was not enough to escape the
             26   exclusive remedy provisions of the WCA. Id. at 26; see also Livitsanos v. Super.
             27   a, 2 Cal. 4th 744 (1992).

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                  DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                  CASE NO. 2:13-CV-02942-ABC-SS
            Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 19 of 23 Page ID #:21



              1         Here, Plaintiffs claim arises solely from her employment with the ZOA. She
              2   alleges Defendants negligently inflicted emotional distress upon her by pressuring
              3   her to perform her fundraising duties and terminating her employment. (Compl. ^\
              4   18, 19, 26, 34.) Because Plaintiffs claims fall only within the employment
              5   relationship, Cole and Shoemaker's governing holdings dictate this claim is barred
              6   by the exclusive remedy provisions of the WCA.

              7         H.     PLAINTIFF'S NEGLIGENT INFLICTION OF EMOTIONAL
                               DISTRESS CLAIM ALSO FAILS AS TO ALL DEFENDANTS
              8                BECAUSE ALL CONDUCT PLAINTIFF ALLEGED WAS
                               FRAMED AS INTENTIONAL CONDUCT, NOT NEGLIGENT
              9                CONDUCT
             10         To prove negligent infliction of emotional distress, Plaintiff must
             11   demonstrate that Defendants owed her a duty, that Defendants engaged in negligent
             12   conduct, that she then suffered severe emotional harm, and that the negligent
< < 2
X.   i. S    13   conduct was the cause of the emotional distress suffered by Plaintiff. See Burgess
             14   v. Super. Ct., 2 Cal. 4th 1064, 1072 (1992). Plaintiffs NIED claim fails because
             15   she alleges intentional, but not negligent conduct, as the basis for her NIED claim.
             16         Intentional conduct cannot be used as a basis for recovery under NIED
             17   theory. Semore v. Pool, 111 Cal. App. 3d 1087, 1105 (1990). An employer's
             18   supervisory conduct is inherently intentional and customary to the employer-
             19   employee relationship. See id. Thus, an employee asserting a NIED claim against
             20   her employer cannot base her suit on a supervisor's intentional conduct or
             21   personnel decision by framing intentional acts as "breaching a duty" towards her.
             22   Id. In Semore v. Pool, an employee sued his former employer for wrongful
             23   termination and NIED when he was terminated for refusing to submit to a work-
             24   related drug screening. Id. at 1092-93. The court held that the supervisor had
             25   intentionally terminated the plaintiffs employment, and thus, the deliberate firing
             26   of plaintiff could not serve as a basis for a negligence claim. Id. at 1105. Here, the
             27   ZOA's alleged conduct with relation to terminating Plaintiffs employment was, of
             28   course, intentional conduct. (Compl. ^|| 26, 34.) Even if the Court accepts all of
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                  DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                  CASE NO. 2:13-CV-02942-ABC-SS
Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 20 of 23 Page ID #:22



  1   Plaintiffs allegations as true, each instance of allegedly actionable conduct was
  2   intentional. Thus, Plaintiffs Fifth Claim fails as a matter of law and must be

  3   dismissed, with prejudice.
  4         I.       PLAINTIFF'S UNFAIR COMPETITION LAW CLAIM FAILS
                     AS TO ALL DEFENDANTS FOR THE SAME REASONS HER
  5                  OTHER CLAIMS FAIL

  6         Plaintiff failed to state a claim for violation of the UCL for the same reasons

  7   as all of her other claims fail. As the California Supreme Court has recognized, the
  8   UCL "borrows" violations of other laws and treats them as unlawful practices
  9   independently actionable under the UCL. Farmers Ins. Exch. v. Super. Ct., 2 Cal.
 10   4th 377, 383 (1992); People v. McKale, 25 Cal. 3d 626, 632 (1979). Dismissal of
 11   the "borrowed" Claim necessarily causes a dismissal of the Section 17200 claim.
 12   See, e.g., Ingels v. Westwood One Broad. Serv., Inc., 129 Cal. App. 4th 1050, 1060
 13   (2003) (holding that "[a] defendant cannot be liable under the UCL for committing
 14   'unlawful business practices' without having violated another law . . . If the
 15   [underlying] claim is dismissed, then there is no 'unlawful' act upon which to base
 16   the derivative Unfair Competition claim.").
 17         By law, at best, Plaintiffs UCL claim "borrows" the violations alleged in her
 18   other claims, to the extent that she pled sufficient facts to state any claims. Because
 19   Plaintiff failed to state a claim for wrongful termination, civil conspiracy, or
 20   infliction of emotional distress, she failed to state that Defendants violated the
 21   UCL. Moreover, because Mr. Klein cannot be held individually liable for wrongful
 22   termination, civil conspiracy, or for acts relating to personnel actions, Plaintiffs
 23   UCL against Defendant that borrows such claims' alleged violations fails.
 24   Accordingly, the Court should grant Defendants' Motion to Dismiss Plaintiffs
 25   Sixth Claim.

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      DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
      CASE NO. 2:13-CV-02942-ABC-SS
              Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 21 of 23 Page ID #:23



                1          J.     PLAINTIFF'S FAILURE TO ATTACH AN AGREEMENT
                                  THAT CONTAINS A PREVAILING PARTY ATTORNEYS'
                2                 FEE PROVISION OR CITE A STATUTE THAT PROVIDES
                                  FOR THE RECOVERY OF ATTORNEYS' FEES PRECLUDES
                3                 AN AWARD OF ATTORNEYS' FEES UNDER HER TORT
                                  CAUSES OF ACTION
                4

                5          Plaintiff is seeking attorneys' fees under her tort claims without stating any
                6   legal basis to do so in her Complaint. As a general proposition, each party must
                7   pay its own attorneys' fees. This concept is embodied in Code of Civil Procedure
                8   section 1021, which provides that each party is to bear his or her own attorneys'
                9   fees unless a statute or agreement of the parties provides otherwise. In
               10   interpreting Code of Civil Procedure section 1021, courts generally rule that
               11   without a specific statutory provision or contractual agreement, attorneys' fees are
               12   not part of the costs recoverable from the opposing party. See Jutkowitz v. Bourns,
£   <    -.    13   Inc., 118 Cal. App. 3d 102 (1981). Thus, "in the absence of some statutory right or
—   '?   2

               14   contractual provision, attorney's fees are to be paid by the party employing the
               15   attorney." Carroll v. Hanover Ins. Co., 266 Cal. App. 2d 47, 50 (1968).
               16          Plaintiffs Complaint fails to identify any contract or statute providing for
               17   recovery of attorneys' fees under her tort claims of Wrongful Termination -
               18   Violation of Public Policy, Wrongful Termination - Gender Discrimination, Civil
               19   Conspiracy, Intentional Infliction of Emotional Distress, and Negligent Infliction of
               20   Emotional Distress. Plaintiff cannot recover attorneys' fees for such claims absent
               21   a contract or statute providing for attorneys' fees for the prevailing party since they
               22   are rooted in tort. See Code Civ. Pro. § 1021 (providing each party is to bear his or
               23   her own attorneys' fees unless a statute or agreement of the parties provides
               24   otherwise). Nonetheless, Plaintiffs prayer for relief makes an unsupported request
               25   for "statutory damages and costs, including reasonable attorneys' fees . . . ."
               26   (Compl. p. 16, Line 1.) Plaintiff has failed to allege the basis of her request for
               27   attorneys' fees in connection with these tort claims. Accordingly, the Court should

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                    DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                    CASE NO. 2:13-CV-02942-ABC-SS
        Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 22 of 23 Page ID #:24



          1   dismiss Plaintiffs prayer for attorneys' fees in her First, Second, Third, Fourth, and
          2   Fifth Claims.

          3          K.     PLAINTIFF CANNOT RECOVER ATTORNEYS' FEES
                            UNDER HER STATUTORY CALIFORNIA BUSINESS AND
          4                 PROFESSIONS CODE SECTION 17200 ET SEQ. CLAIM
                            BECAUSE THE STATUTE DOES NOT PROVIDE FOR
          5                 ATTORNEYS' FEES

          6          Similarly, Plaintiff has not cited any statute to recover attorneys' fees under
          7   her Sixth Claim of Unfair Business Practices under California Business and

          8   Professions Code section 17200 et seq. "The unfair competition law does not
          9   provide for attorney fees, and relief is generally limited to injunctive relief and
         10   restitution." Walker v. Countrywide Home Loans, Inc., 98 Cal. App. 4th 1158,
         11   1180 (2002). Thus, the Court should dismiss Plaintiffs prayer for attorneys' fees
         12   in her Sixth Claim.

         13          L.     PLAINTIFF'S PRAYER FOR DAMAGES IS IMPROPER
C   z
                            UNDER HER UNFAIR BUSINESS PRACTICES CAUSE OF
         14                 ACTION BECAUSE THE STATUTE ONLY PROVIDES FOR
                            INJUNCTIVE AND RESTITUTIONARY RELIEF
         15

         16          The UCL "'borrows' violations from other laws by making them
         17   independently actionable as unfair competitive practices." Korea Supply Co. v.
         18   Lockheed Martin Corp., 29 Cal. 4th 1134, 1143 (2003). "A UCL action is
         19   equitable in nature; damages cannot be recovered." Id; see also Heller v. Norcal
         20   Mutual Ins. Co., 8 Cal. 4th 30, 45 (1994) ("Damages are not available for claims
         21   under the Unfair Business Practices Act."); Bank ofthe West v. Super. Ct., 2 Cal.
         22   4th 1254, 1266 (1992). Plaintiffs Complaint is seeking past and future wages,
         23   emotional distress damages, and punitive damages, which are unrecoverable under
         24   this statute. Her allegation that "as a direct and proximate result of [the ZOA's]
         25   unfair business practices, [ she] has suffered damages" requests recovery
         26   unsupported by the Unfair Business Practices Act. Therefore, the Court should
         27   dismiss Plaintiffs prayer for damages in her Sixth Claim.
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              DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
              CASE NO. 2:13-CV-02942-ABC-SS
             Case 2:13-cv-02942-ABC-SS Document 7 Filed 04/30/13 Page 23 of 23 Page ID #:25



               1   III.   CONCLUSION

               2          For the foregoing reasons, Defendants the ZOA and Klein respectfully
               3   request that the Court grant its Motion to Dismiss Plaintiffs First, Second, Third,

               4   Fourth, Fifth, and Sixth Claims against them. In addition, Defendants the ZOA and

               5   Klein respectfully request that the Court dismiss Plaintiffs request for attorneys'
               6   fees as to her First, Second, Third, Fourth, Fifth and Sixth Claims, and her prayer

               7   for damages in her Sixth Claim.

               8

               9   Dated: April 30, 2013                          HIRSCHFELD KRAEMER LLP

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              11                                           ByL
                                                                           Gregory S. Glazer
              12                                                           Alison M. Hamer
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                                                           Attorneys for Defendants
u.   i   s    13                                           ZIONIST ORGANIZATION OF AMERICA
                                                           and MORTON KLEIN
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                   DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS
                   CASE NO. 2:13-CV-02942-ABC-SS
